EXHIBIT O
NPDB Guidebook
October 2018

U.S. Department of Health and Human Services
Health Resources and Services Administration
Bureau of Health Workforce
NPDB Guidebook                                                      Chapter E: Reports


    lawsuit agreed to the condition. Should the resulting payment be reported
    to the NPDB?
    Yes. Because the payment is the result of the condition that the defendant health
    care practitioner be dismissed from the lawsuit, the payment can only be
    construed as a payment for the benefit of the health care practitioner and must
    be reported to the NPDB.

17. A hospital and a health care practitioner were named in a medical
    malpractice claim. Further review revealed that the practitioner had never
    treated the plaintiff who filed the claim. The practitioner was dismissed
    from the lawsuit without condition. A settlement on behalf of the hospital
    was reached and a payment was made to the plaintiff to resolve the claim.
    The release stated that the defendant health care practitioner was
    dismissed from the lawsuit prior to settlement and the payment was being
    made on behalf of the hospital. Is this payment reportable to the NPDB?
    No. Because the health care practitioner had been dismissed from the action
    independently of the settlement or release, the payment cannot be viewed as
    being made for the benefit of the health care practitioner. The payment made on
    behalf of the hospital should not be reported to the NPDB.

REPORTING ADVERSE CLINICAL PRIVILEGES ACTIONS
Hospitals and other health care entities must report adverse clinical privileges
actions to the NPDB that meet NPDB reporting criteria – that is, any professional
review action that adversely affects the clinical privileges of a physician or dentist
for a period of more than 30 days or the acceptance of the surrender of clinical
privileges, or any restriction of such privileges by a physician or dentist, (1) while
the physician or dentist is under investigation by a health care entity relating to
possible incompetence or improper professional conduct, or (2) in return for not
conducting such an investigation or proceeding. Clinical privileges include
privileges, medical staff membership, and other circumstances (e.g., network
participation and panel membership) in which a physician, dentist, or other health
care practitioner is permitted to furnish medical care by a health care entity.
Adverse clinical privileges actions that must be reported to the NPDB are
professional review actions – that is, they are based on a physician’s or dentist’s
professional competence or professional conduct that adversely affects, or could
adversely affect, the health or welfare of a patient. Generally, the entity that takes
the clinical privileges action determines whether the physician’s or dentist’s
professional competence or professional conduct adversely affects, or could

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adversely affect, the health or welfare of a patient. Hospitals and other health care
entities must report clinical privileges actions taken against physicians and dentists
when those actions meet the criteria for reportability.
In addition, hospitals and other health care entities may report – and are encouraged
to report – clinical privileges actions taken against health care practitioners other
than physicians and dentists when those clinical privileges actions are based on the
practitioner’s professional competence or professional conduct that adversely
affects, or could adversely affect, the health or welfare of a patient.
Definitions and examples of these terms are provided in Chapter C: Subjects of
Reports.
Table E-5 outlines reporting obligations for adverse clinical privileges actions.

                               Table E-5:
       Authority for Reporting Adverse Clinical Privileges Actions
 Law           Who Reports?                 What is Reported?              Who is Reported?
 Title IV   Hospitals                   Certain clinical privileges       Physicians and dentists
            Other health care           actions related to professional   Other practitioners
            entities with formal peer   competence or conduct             (optional)
            review



Hospitals and other eligible health care entities must report:
Ɣ Professional review actions that adversely affect a physician’s or dentist’s
  clinical privileges for a period of more than 30 days
Ɣ Acceptance of a physician’s or dentist’s surrender or restriction of clinical
  privileges while under investigation for possible professional incompetence or
  improper professional conduct, or in return for not conducting such an
  investigation or not taking a professional review action that otherwise would be
  required to be reported to the NPDB
Actions taken against a physician’s or dentist’s clinical privileges include reducing,
restricting, suspending, revoking, or denying privileges, and also include a health
care entity’s decision not to renew a physician’s or dentist’s privileges if that
decision was based on the practitioner’s professional competence or professional
conduct. Clinical privileges actions are reportable once they are made final by the
health care entity. However, summary suspensions lasting more than 30 days are
reportable even if they are not final.


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